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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



 IN RE: INSULIN PRICING LITIGATION                                                                MDL No. 3080



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −1)



On August 3, 2023, the Panel transferred 5 civil action(s) to the United States District Court for the District of
New Jersey for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
__F.Supp.3d__ (J.P.M.L. 2023). Since that time, no additional action(s) have been transferred to the District
of New Jersey. With the consent of that court, all such actions have been assigned to the Honorable Brian R.
Martinotti.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the District of New Jersey and assigned to Judge Martinotti.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of New Jersey for
the reasons stated in the order of August 3, 2023, and, with the consent of that court, assigned to the
Honorable Brian R. Martinotti.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the District of New Jersey. The transmittal of this order to said Clerk shall be stayed 7 days from
the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period,
the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:
                           Aug 14, 2023


                                                            Tiffaney D. Pete
                                                            Clerk of the Panel
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 IN RE: INSULIN PRICING LITIGATION                                                 MDL No. 3080



                      SCHEDULE CTO−1 − TAG−ALONG ACTIONS



   DIST        DIV.    C.A.NO.       CASE CAPTION


 ILLINOIS NORTHERN

    ILN         1     23−02402       Lake County, Illinois v. Eli Lilly and Company et al

 LOUISIANA MIDDLE
                                                                                Opposed 8/11/23
   LAM          3     23−00302       The State of Louisiana v. Sanofi−Aventis U.S. LLC et al
   LAM          3     23−00589       Bossier Parish v. Eli Lilly and Company et al

 MISSOURI WESTERN

   MOW          4     23−00206       Jackson County, Missouri v. Eli Lilly and Company et al

 NEW YORK NORTHERN

   NYN          1     22−00981       County of Albany, New York v. Eli Lilly and Company et al

 OHIO NORTHERN

   OHN          1     23−01417       City of Cleveland, Ohio v. Eli Lilly & Company et al

 PUERTO RICO

    PR          3     23−01349       Sistema Integrado de Salud del Oeste LLC et al v. Eli Lilly &
                                     Company et al      Vacated 8/14/23
